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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

FLORIDA GAS TRANSMISSION                      §       CIVIL ACTION
COMPANY, LLC,                                 §
     Plaintiff,                               §       NO.: 3:24-CV-00122-BAJ-RLB
                                              §
v.                                            §       JUDGE BRIAN A. JACKSON
                                              §
8.22 ACRES, MORE OR LESS,                     §       MAG. RICHARD L. BOURGEOIS, JR.
SITUATED IN IBERVILLE PARISH,                 §
LOUISIANA, MURRELL FAMILY,                    §
L.L.C., AND FOREST HOME                       §
PLANTATION, L.L.C.                            §

                 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION
                   TO CONFIRM CONDENATION OF SERVITUDES
                      AND FOR PRELIMINARY INJUNCTION

       Defendants, 8.22 acres, more or less, situated in Iberville Parish, Louisiana, Murrell

Family, L.L.C., and Forest Home Plantation, L.L.C. (collectively, “Defendants”), respectfully

file this Response to Plaintiff, Florida Gas Transmission Company, LLC’s (“Plaintiff”) Motion to

Confirm Condemnation of Servitudes and for Preliminary Injunction (the “Motion”), and

respectfully would show the Court as follows:

       1.      Defendants represent that they are in active settlement discussions with Plaintiff

to resolve this matter and believe the Parties will complete their settlement discussions prior to

the hearing on the Motion, which is currently set for May 15, 2024. Out of an abundance of

caution, however, Defendants file this Response to Plaintiff’s Motion, reserving all rights.

       2.      Defendants are the owners of the immovable property upon which Plaintiff seeks

to acquire the servitudes referenced in its Motion.

       3.      Defendants do not oppose or contest Plaintiff’s right to condemn the property

interests prayed for in its Motion.




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       4.      Defendants also do not oppose and will consent to Plaintiff’s request for

possession of and access to the servitudes sought in the Motion. As the Court will recall, during

the Parties’ February 22, 2024 telephone conference, Plaintiff represented that it did not need

“immediate” possession of the servitudes it seeks to acquire and that there was no “immediate”

need to access the property for at least sixty (60) days. Plaintiff has thus admitted that there is no

need for “immediate” possession of the property in question.

       5.      Plaintiff also will not suffer irreparable injury if the preliminary injunction is

denied. This is because Defendants will grant Plaintiff the property rights it requests in the

Motion, subject to the execution of a mutually agreeable (i) Road Use Servitude Agreement and

(ii) Surface Site Servitude Agreement, which the Parties are currently negotiating. Since

Defendants are willing to grant Plaintiff the property rights it seeks to acquire, Plaintiff’s request

for a preliminary injunction is moot.

       6.      Finally, Plaintiff and Defendants have reached an agreement on the compensation

due to Defendants for the taking of their property rights. However, in the event Plaintiff and

Defendants are unable to amicably conclude their settlement negotiations, then Defendants

reserve their right to contest the amount of just compensation due Defendants, which they are

entitled to receive under the United States Constitution and the Constitution of the State of

Louisiana.

                                             PRAYER
       WHEREFORE, PREMISES CONSIDERED, Defendants, 8.22 acres, more or less,

situated in Iberville Parish, Louisiana, Murrell Family, L.L.C., and Forest Home Plantation,

L.L.C., respectfully prays that the Court deny Plaintiff’s Motion to Confirm Condemnation of

Servitudes and for Preliminary Injunction as moot, at Plaintiff’s sole cost and expense, award



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Defendants all fees and costs of court, and for all other and further relief, at law or in equity, to

which Defendants are entitled.

         New Orleans, Louisiana this 11th day of March, 2024.

                                              Respectfully submitted,


                                              /s/ Brandon T. Darden
                                              M. Taylor Darden (La. Bar # 4546)
                                              Brandon T. Darden, T.A. (La. Bar # 37089)
                                              Elizabeth C. Griffin (La. Bar # 40569)
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                                              ATTORNEYS FOR DEFENDANTS, 8.22 ACRES, MORE
                                              OR LESS, SITUATED IN IBERVILLE PARISH,
                                              LOUISIANA, MURRELL FAMILY, L.L.C., AND
                                              FOREST HOME PLANTATION, L.L.C.


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 11, 2024, a copy of the foregoing pleading was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record registered to receive electronic service by operation of the Court’s

electronic filing system.

                                              /s/ Brandon T. Darden
                                                      Brandon T. Darden




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